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                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

 TELETRACKING TECHNOLOGIES, INC.,

         Plaintiff,

                                                      Case No.:
 vs.

 ORLANDO HEALTH, INC.,

       Defendant.
 __________________________________/


                                   VERIFIED COMPLAINT

       Plaintiff TeleTracking Technologies, Inc. (“TeleTracking”), by its undersigned counsel,

files this Complaint against Defendant Orlando Health, Inc. (“Orlando Health”) and in support

thereof states as follows:

                             Introduction and Nature of the Action

       1.       TeleTracking is a software technology leader, providing hospitals and health

systems with critical operational solutions to ensure that no patient waits for the care they need.

       2.       Orlando Health is a 2,800-bed system that includes 13 wholly-owned hospitals

and emergency departments; rehabilitation services, cancer institutes, heart institutes, imaging

and laboratory services, wound care centers, physician offices for adults and pediatrics, skilled

nursing facilities, an in-patient behavioral health facility, home healthcare services in partnership

with LHC Group, and urgent care centers in partnership with CareSpot Urgent Care. Orlando

Health’s hospitals include: Orlando Health Orlando Regional Medical Center; Orlando Health

Dr. P. Phillips Hospital; Orlando Health South Lake Hospital; Orlando Health South Seminole



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Hospital; Orlando Health – Health Central Hospital; Orlando Health Arnold Palmer Hospital for

Children; Orlando Health Winnie Palmer Hospital for Women & Babies and Orlando Health St.

Cloud Hospital.

       3.      On or about April 4, 2017, TeleTracking and Orlando Health entered into a

written agreement, the TeleTracking Subscription and License Agreement (“TSLA”), governing

their relationship and Orlando Health’s use of TeleTracking’s software and information.

       4.      TeleTracking brings this complaint for preliminary and permanent injunctive

relief to prevent Orlando Health from continuing to violate the TSLA by sharing, providing, or

otherwise disclosing to any third party, including but not limited to Epic Systems Corporation

(“Epic”), a competitor of TeleTracking, the content of TeleTracking’s software, source code,

technical information, documentation, support or training materials, software plans, designs, or

the design or format of any graphical user interface (GUI), reports, results, output generated by

the software and/or any other proprietary and confidential information. TeleTracking also seeks

relief requiring Orlando Health to demand from any third party the immediate return of all

information shared in violation of the agreement.

       5.      Upon information and belief, in violation of the TSLA, Orlando Health has also

permitted a third party, Epic, to (i) modify or copy TeleTracking’s Subscription Service,

Software, Documentation, or Deliverables; or (ii) create a derivative work based on the

Subscription Service, Software, Documentation, or Deliverables; or (iii) reverse engineer,

reverse assemble, disassemble, or decompile any portion of the Subscription Service, Software,

Documentation or Deliverables, including, but not limited to, any software utilized by

TeleTracking in the provision of the Subscription Service or Software; or (iv) access the




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Subscription Service, Software, Documentation, or Deliverables in order to build or develop any

commercially available or competitive product or service; or (v) copy features, functions,

integrations, Interfaces, reporting formats, or graphics of the Subscription Service, Software,

Documentation or Deliverables.

        6.      Accordingly, TeleTracking seeks all appropriate injunctive, monetary and other

relief to remedy these contractual breaches and prevent such further unlawful conduct.

                                                 Parties

        7.      TeleTracking is a Delaware corporation with its principal place of business

located at The Times Building, 336 Fourth Avenue, Pittsburgh, PA 15222.

        8.      Orlando Health is a Florida not-for-profit corporation with its principal place of

business located at 1414 Kuhl Avenue, MP 2, Orlando, FL 32806.

                                        Jurisdiction and Venue

        9.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§1332 because the amount in dispute exceeds $75,000, exclusive of interest and costs, and

diversity of citizenship exists between the parties.

        10.     This Court has personal jurisdiction over Defendant because Defendant maintains

its principal place of business in this district, it transacts business in this district, and/or it

committed an unlawful or tortious act in this district.

        11.     Venue is proper in this Court pursuant to 28 U.S.C. §1391 because Defendant

maintains its principal place of business in this district, it transacts business in this district, it

committed an illegal or tortious act in this district, and is otherwise subject to the Court’s




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personal jurisdiction with respect to this action.

       12.       Venue is also proper in this Court because the TSLA contains a Florida choice of

law and venue provision. See Exhibit 1, Sections 20(i) and (w).

                                                Facts

       13.       TeleTracking and Orlando Health entered into the TSLA on or about April 4,

2017. A true and correct copy of the TSLA is attached hereto as Exhibit 1.

       14.       Among other obligations, Orlando Health agreed that, “Confidential Information”

means (a) any software utilized by TeleTracking in the provision of the Software and respective

source code;…(c) each party’s technical information, including, but not limited, to

TeleTracking’s Documentation, Support, training materials, any information relating to software

plans, designs, or the design or format of any graphical user interface (GUI), reports, results, and

output generated by the Software; (d) each party’s business information, including, but not

limited to costs, prices, finances, marketing plans, business opportunities, personnel, research,

development or know-how, that is designated by the disclosing party as “confidential” or

“proprietary” or the receiving party knows, or should reasonably know, is confidential or

proprietary;….” See Exhibit 1, TSLA, at Section 1, Definitions (hereinafter “Confidential

Information”).

       15.       In the TSLA, Orlando Health also agreed that TeleTracking owns “all rights, title

and interest in and to the subscription Service, Software and Documentation, including all

training materials, software designs, and the design or format of any graphical user interface

(GUI), report, result, or other output generated by the Subscription Service or Software (other

than Client Data) and all related Intellectual Property Rights and any Improvements or other



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modifications, enhancements, customizations, and derivative works thereof. In addition,

TeleTracking shall have a royalty-free, worldwide, transferable, sub-licensable irrevocable, and

perpetual license to use or incorporate into the Subscription Service, Software or Documentation

any Client Feedback.” Further, “[a]ll rights, title and Interest to all ideas, techniques, know-how,

designs, programs, development tools, processes, Integrations, interfaces, enhancements, and

other technical information developed by TeleTracking in the course of performing Professional

Services, and all Client Feedback pertaining thereto, shall vest solely and exclusively with

TeleTracking.” See Exhibit 1, TSLA, Section 13(b) (hereinafter “Proprietary Rights”).

       16.     Further, in Section 13(d) of the TSLA, Orlando Health agreed that it would not,

nor would it: “permit any third party to, (i) modify or copy the Subscription Service, Software,

Documentation, or Deliverables, or create any derivative works based on the Subscription

Service, Software, Documentation, or Deliverables, except that Client may make a reasonable

number of copies of the Documentation and Deliverables as necessary to use the Subscription

Service or Software;… (iii) reverse engineer, reverse assemble, disassemble, or decompile any

portion of the Subscription Service, Software, Documentation or Deliverables, including, but not

limited to, any software utilized by TeleTracking in the provision of the Subscription Service or

Software; (iv) access the Subscription Service, Software, Documentation, or Deliverables in

order to build or develop any commercially available or competitive product or service; (v) copy

any features, functions, integrations, Interfaces, reporting formats, or graphics of the

Subscription Service, Software, Documentation or Deliverables;…” See Exhibit 1, TSLA,

Section 13(d) (hereinafter “Prohibitions”).

       17.     In addition, Section 14 of the TSLA governs the parties’ Confidentiality

Obligations and states in relevant part: “A party will not disclose other than to its employees,



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directors, advisors, contractors or agents with a need to know and who are under nondisclosure

obligations or use any Confidential Information of the other party, except as reasonably

necessary to perform its obligations or exercise its rights pursuant to this Agreement, without the

other party's prior written permission.” See Exhibit 1, TSLA, Section 14 (hereinafter

“Confidentiality Restrictions”).

       18.     On August 24, 2020, representatives of TeleTracking participated in a meeting,

in-person and via video conference, with Orlando Health representatives – Transport Manager,

Katy Henderson and Lead Supervisor, Nick Daly (“Hospital Employees”) – at Dr. Phillips

Hospital of Orlando Health (“Hospital”). The meeting was organized for a current state of

assessment of the Hospital’s use of TeleTracking’s solutions and services and to identify

opportunities for improvement.

       19.     During the meeting, the Hospital Employees advised TeleTracking that the

Hospital will be going live with competing replacement solutions from Epic at the end of

January 2021, not in two years as they previously had advised.

       20.     During the meeting, the Hospital Employees admitted to, at a minimum, sharing

and/or describing for Epic TeleTracking’s software platform functionality and the content of

TeleTracking’s output and reports.

       21.     The Hospital Employees stated that they informed Epic that, in order to make the

transition to Epic in January 2021, they needed to have the certain functionality available in

TeleTracking’s platform, reports and solutions not currently available in Epic’s competing

product(s).

       22.     According to the Hospital Employees, Epic had stated that, although it did not



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currently have the functionality, it would commit to build such functionality by the Hospital’s

“go-live” date with Epic in January 2021.

       23.     The Hospital Employees admitted to, in particular, describing TeleTracking’s

Equipment Return functionality to Epic.

       24.     The Hospital Employees also informed TeleTracking that they shared with Epic

the substance and content of TeleTracking’s reports currently used by the Hospital to help with

employee improvements in their departments. TeleTracking understands that the Hospital

Employees have asked Epic to duplicate the output of these reports.

       25.     Upon information and belief, Orlando Health has inappropriately shared other

Confidential Information with Epic and/or has otherwise violated TeleTracking’s Proprietary

Rights, in violation of the Confidentiality Restrictions.

       26.     Upon information and belief, Orlando Health has violated, and/or has aided Epic

in violating, one or more of the Prohibitions.

       27.     On September 3, 2020, TeleTracking sent the required notice under the TSLA to

Orlando Health of its material breach of the agreement and sought Orlando Health’s immediate

assurances that it would abide by its obligations under the TSLA and confirm that all conduct in

violation of the TSLA would be stopped (the “Notice”). A true and correct copy of the Notice is

attached hereto as Exhibit 2. As of the filing of this Complaint, no such assurances from

Orlando Health have been received by TeleTracking.

             COUNT I – BREACH OF CONTRACT – INJUNCTIVE RELIEF

       28.     TeleTracking incorporates paragraphs 1 through 27 as though fully set forth at




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length herein.

       29.       TeleTracking and Orlando Health are parties to a written agreement which sets

forth Orlando Health’s obligations with respect to the use and treatment of TeleTracking’s

software, Confidential Information and/or Proprietary Rights. The agreement sets forth

Confidentiality Restrictions and Prohibitions.

       30.       Orlando Health has breached those obligations by wrongfully disclosing

Confidential Information protected by the TSLA to Epic and/or by violating TeleTracking’s

Proprietary Rights in disclosing such information and materials to Epic.

       31.       In violation of the Confidentiality Restrictions and the Prohibitions, Orlando

Health has also, upon information and belief, permitted a third party, Epic, to (i) modify or copy

TeleTracking’s Subscription Service, Software, Documentation, or Deliverables; or (ii) create a

derivative work based on the Subscription Service, Software, Documentation, or Deliverables; or

(iii) reverse engineer, reverse assemble, disassemble, or decompile any portion of the

Subscription Service, Software, Documentation or Deliverables, including, but not limited to,

any software utilized by TeleTracking in the provision of the Subscription Service or Software;

or (iv) access the Subscription Service, Software, Documentation, or Deliverables in order to

build or develop any commercially available or competitive product or service; or (v) copy

features, functions, integrations, Interfaces, reporting formats, or graphics of the Subscription

Service, Software, Documentation or Deliverables.

       32.       Orlando Health’s conduct is in breach of the TSLA and has caused and will

continue to cause irreparable harm to TeleTracking if the conduct is not halted immediately.

       33.       Section 14(d) of the TSLA permits TeleTracking “to seek injunctive relief to



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enjoin such acts, without the necessity of proving actual damages or posting bond.” See Exhibit

1, TSLA, Section 14(d).

       WHEREFORE, TeleTracking respectfully requests that this Court enter judgment in its

favor and against Orlando Health and award a preliminary and then permanent injunction

requiring Orlando Health to:

         1.   cease from disclosing or communicating any of TeleTracking’s Confidential
              Information or Proprietary Rights to any third party, including but not limited to
              Epic, or to use or refer to such information for any purpose other than that
              permitted by the TSLA.

         2.   demand that Epic cease and desist from:

                           i. modifying or copying the Subscription Service, Software,
                              Documentation, or Deliverables, or creating any derivative
                              works based on the Subscription Service, Software,
                              Documentation, or Deliverables;

                          ii. reverse engineering, reverse assembling, disassembling, or
                              decompiling any portion of the Subscription Service,
                              Software, Documentation or Deliverables, including, but not
                              limited to, any software utilized by TeleTracking in the
                              provision of the Subscription Service or Software;

                          iii. accessing the Subscription Service, Software,
                               Documentation, or Deliverables in order to build or develop
                               any commercially available or competitive product or
                               service;

                          iv. copying any features, functions, integrations, Interfaces,
                              reporting formats, or graphics of the Subscription Service,
                              Software, Documentation or Deliverables.

         3.   Identify any Confidential Information or Proprietary Rights belonging to
              TeleTracking that Orlando Health has shared with any third party, including
              but not limited Epic.




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         4.      Request the immediate return of any of TeleTracking’s Confidential Information
                 or Proprietary Rights information or documentation from Epic and any other third
                 party with whom Orlando Health shared such information.


                     COUNT II – BREACH OF CONTRACT – DAMAGES

       34.       TeleTracking incorporates paragraphs 1 through 27 as though fully set forth at

length herein.

       35.       TeleTracking and Orlando Health are parties to a written agreement which sets

forth Orlando Health’s obligations with respect to the use and treatment of TeleTracking’s

software, Confidential Information and/or Proprietary Rights. The agreement sets forth

Confidentiality Restrictions and Prohibitions.

       36.       Orlando Health has breached those obligations by wrongfully disclosing

Confidential Information protected by the TSLA to Epic and/or by violating TeleTracking’s

Proprietary Rights in disclosing such information and materials to Epic.

       37.       In violation of the Confidentiality Restrictions and the Prohibitions, Orlando

Health has also, upon information and belief, permitted a third party, Epic, to (i) modify or copy

TeleTracking’s Subscription Service, Software, Documentation, or Deliverables; or (ii) create a

derivative work based on the Subscription Service, Software, Documentation, or Deliverables; or

(iii) reverse engineer, reverse assemble, disassemble, or decompile any portion of the

Subscription Service, Software, Documentation or Deliverables, including, but not limited to,

any software utilized by TeleTracking in the provision of the Subscription Service or Software;

or (iv) access the Subscription Service, Software, Documentation, or Deliverables in order to

build or develop any commercially available or competitive product or service; or (v) copy



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features, functions, integrations, Interfaces, reporting formats, or graphics of the Subscription

Service, Software, Documentation or Deliverables.

       38.     Orlando Health’s conduct is in material breach of the TSLA. As a direct result of

this breach, TeleTracking has been damaged and will continue to be damaged in an amount in

excess of $75,000 to be proven at trial.

       WHEREFORE, TeleTracking respectfully requests that this Court enter judgment in its

favor and against Defendant for an amount in excess of $75,000 to be determined at trial, plus

costs, interest and any other amount this Court deems just and proper.

                                 DEMAND FOR JURY TRIAL

       TeleTracking demands trial by jury in this action for all issues triable.

                                                Respectfully Submitted,

                                                BLANK ROME LLP

                                                /s/ Michelle M. Gervais
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                                               Counsel for Plaintiff
                                               TeleTracking Technologies, Inc.




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